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15
16                      IN THE UNITED STATES DISTRICT COURT

17                             FOR THE DISTRICT OF ARIZONA

18   League of Women Voters of Arizona,
                                                      No. CV-22-08196-PCT-MTL
19                        Plaintiff,
20   vs.                                            SUPPLEMENTAL BRIEF IN
                                                    SUPPORT OF PLAINTIFF’S
21   Lions of Liberty LLC; Yavapai County          MOTION FOR A TEMPORARY
     Preparedness Team; Jim Arroyo, Lucas           RESTRAINING ORDER AND
22   Cilano; Nicholas Cilano; Brian Mounsey;       PRELIMINARY INJUNCTION
     Toby Fox; Bruce Mounsey; James Johnson;
23   Melody Jennings; Clean Elections USA;
     John Does 1-10,
24
                          Defendants.
25
26
27
28
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 1                                       INTRODUCTION
 2          Shortly after Plaintiff filed its motion for a temporary restraining order and
 3   preliminary injunction, this Court denied a request for a much broader preliminary
 4   injunction in another lawsuit raising similar claims. Order, Ariz. All. for Retired Ams. v.
 5   Clean Elections USA, No. 2:22-cv-1823 (D. Ariz. Oct. 28, 2022), ECF No. 32
 6   (hereinafter, the “Order”). The Court concluded that, based on the record developed in
 7   that case, the injunction those plaintiffs sought would violate the First Amendment. Id.
 8   at 5–10. Plaintiff submits this supplemental brief to explain why the narrower injunction
 9   Plaintiff seeks here does not run afoul of the First Amendment.
10          At the outset, Plaintiff notes that, based on the record developed in this case,
11   Defendants are not engaged in mere monitoring. Instead, Defendants are successfully
12   deploying time-tested methods of voter intimidation: spreading false information about
13   voting and voters; engaging in threatening and harassing surveillance of voters,
14   including while armed and wearing tactical gear; and spreading and threatening to
15   spread voters’ personal information along with false accusations of voter fraud.
16          Through its motion, Plaintiff does not seek a free-sweeping injunction impinging
17   on Defendants’ rights to speech and assembly. Instead, Plaintiff seeks to halt unlawfully
18   intimidating components of Defendants’ scheme. That includes the stationing of armed
19   individuals and individuals wearing body armor in proximity to ballot drop boxes, and
20   the spread of falsehoods about Arizona voting law and specific voters. Neither of those
21   components is protected by the Constitution. In addition, Plaintiff seeks to enjoin the
22   verbal harassment of voters and photography of individuals in the act of voting at drop
23   box locations. To the extent that conduct is otherwise protected, an injunction barring it
24   nevertheless comports with the First Amendment and is necessary under federal voting
25   law. Finally, Plaintiff explains that there is no constitutional obstacle to enjoining
26   Defendants’ scheme, as it falls well within the speech-integral-to-criminal-conduct and
27   true threats exceptions to First Amendment coverage.
28

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 1                                          ARGUMENT
 2       I.   Defendants Are Not Engaged in Mere Surveillance, But Traditional and
              Effective Forms of Voter Intimidation.
 3
 4            Plaintiff does not seek a blanket injunction to halt anything that might loosely be
 5   labeled poll monitoring. Cf. Order at 6. Instead, Plaintiff seeks to enjoin specific
 6   components of Defendants’ operation, which include time-tested and highly effective
 7   methods of voter intimidation:
 8        ● Spreading specific false information about voting and voters: Defendants’
 9            scheme begins with their repeated, widespread, and false statements about drop
10            box voting and voters: that depositing multiple ballots in a drop box is inherently
11            unlawful. See Supp. Decl. of Rachel F. Homer (“Homer Supp. Decl.”) Ex. A
12            (when asked,“[a]re you allowed to drop more than one ballot into the box,”
13            Defendant Jennings responds, “You are not in Arizona,” and that Arizona law
14            allows voters to deposit “only one [ballot] or you and your spouse”) 1; Decl of
15            Rachel F. Homer (“Homer Decl.”), ECF Nos. 10-11, Ex. T (suggesting a voter
16            who deposited multiple ballots on behalf of family members was behaving
17            wrongfully); id. Ex. N (posting a picture of an individual beside a drop box in
18            Arizona and linking to a Reddit post, titled “Ballot stuffing has already begun in
19            Arizona”) 2; see also Homer Supp. Decl. Ex. B (“We are actually seeing mules be
20            intimidated from doing their thievery. We’re not intimidating voters. But the
21            mules do not want to be caught on film, and that’s what we’re doing. We’re
22            catching them on telescopic film. We can zoom right in. We can get your face.
23            So we’ve got you.”) 3; cf. Arellano Decl. Ex. K, Arizona Alliance for Retired
24
25
     1
      Bannon’s War Room, Mastriano Stands Up For Pennsylvania Families at 46:49,
     Rumble (Oct. 21, 2022), https://rumble.com/v1p2xof-episode-2243-mastriano-stands-
26   up-for-pennsylvania-families.html.
     2

27   https://www.reddit.com/r/AskThe_Donald/comments/y5q1xo/ballot_stuffing_has_alrea
     dy_begun_in_arizona_this/.
28
     3
       Bannon’s War Room, Melody Jennings: Clean Elections USA Is Fighting To Secure
     The Left's Vulnerable Dropboxes at 00:44, Rumble (Oct. 17, 2022),
                                                3
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 1          Americans v. Clean Elections USA, No. 2:22-cv-1823 (D. Ariz. Oct. 24, 2022),
 2          ECF No. 3 (Jennings describing a voter who cast a single ballot as merely
 3          “testing the waters”). In fact Arizona law allows voters to deposit multiple
 4          ballots in a number of different circumstances. See Ariz. Rev. Stat. § 16-1005(I).
 5          False statements about the consequences of voting, and the suggestion that voters
 6          could be penalized for doing so, have been a common feature of conspiracies
 7          found to constitute unlawful voter intimidation. See Nat’l Coal. on Black Civic
 8          Participation v. Wohl (“Wohl I”), 498 F. Supp. 3d 457, 465 (S.D.N.Y. 2020)
 9          (robocalls informing would-be mail-in voters that voting by mail would lead to
10          the collection of their personal information were unlawful voter intimidation);
11          see also Compl. ¶¶ 29–31, United States v. N.C. Republican Party, No. 92-161-
12          CIV-5-F (E.D.N.C. Feb. 26, 1992), Dkt. No. 1 (describing scheme to send
13          postcards to voters falsely warning them that they were not eligible to vote in
14          upcoming election).
15      ● Threatening and harassing “monitoring” of voter behavior: Coupled with
16          their false statements about the law, Defendants have directed their agents to
17          “hunt” for so-called “mules” by monitoring drop boxes. In-person monitoring of
18          voter locations, coupled with harassing conduct directed at individual voters, is
19          another common intimidation tactic. In Daschle v. Thune, for instance,
20          individuals held loud conversations about voters being prosecuted in polling
21          places, followed voters out to their cars after they voted, walked up to their
22          vehicles, and wrote down their license plates. See Compl. ¶ 15, Daschle v.
23          Thune, No. 04-cv-4177 (D.S.D. Nov. 1, 2004), ECF No. 1; 4 see also U.S. by
24   https://rumble.com/v1oenkz-melody-jennings-clean-elections-usa-is-fighting-to-secure-
25   the-lefts-vulnera.html.
     4
       In its order denying a preliminary injunction in Arizona Alliance for Retired
26   Americans, the Court suggested that Thune was not apposite because the intimidation in
     that case specifically targeted Native Americans. But neither Section 11(b) of the
27   Voting Rights Act nor the relevant portions of the Klan Act require that a particular
     racial group be targeted in order for intimidation to be unlawful, and the public interest
28   in stopping intimidation aimed at a lawful, widely-used form of early voting is high.
     (The racial animus was relevant in that case for the plaintiff’s other claims). The
                                               4
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 1         Katzenbach v. Original Knights of Ku Klux Klan, 250 F. Supp. 330, 341 (E.D.
 2         La. 1965) (describing members of the Klan showing up in Franklinton,
 3         Louisiana, to observe Black individuals registering to vote as part of an unlawful
 4         intimidation campaign). Defendants’ conduct closely mirrors that described in
 5         Thune and Katzenbach. Multiple voters have submitted declarations in this case
 6         describing how they were harassed by Defendants’ agents in the course of trying
 7         to vote. See Redacted Decl. ¶¶ 4–15, ECF No. 11-2 (Defendants’ agents followed
 8         the voter to the drop box, told him they were “hunting mules” and asked if he
 9         was a mule, photographed his license plate, and followed him away from the
10         voting location); Rivera Decl. ¶¶ 5–12, ECF No. 11-3 (Defendants’ agent parked
11         approximately 35 feet away from the drop box, filmed or photographed the voter
12         depositing his and his family’s ballots, and appeared to be recording additional
13         information about voters); Overlock Decl. ¶¶ 6–17, ECF No. 11-4 (Defendants’
14         agents photographed the voter’s license plate and reacted angrily when the voter
15         proposed to photograph them as well); Evans Decl. ¶¶ 5–16, ECF No. 11-5
16         (Defendants’ agents appeared to photograph the voter, his vehicle and license
17         plate as he cast his ballot). In some cases, Defendants’ agents’ conduct has been
18         even more intimidating: The record demonstrates that, as Defendant Jennings has
19         encouraged, some agents have carried weapons and/or worn military-style
20         tactical gear to “monitor” the voting locations. Homer Decl. Ex. V (Defendant
21         Jennings’s Truth Social post describing “our people in tactical gear and armed”
22         as a “win/win”); Evans Decl. ¶ 12, ECF No. 11-5 (describing reports from
23         Maricopa County Recorder’s Office staff that observers had brandished guns at
24         the drop box location).
25      ● False public accusations of voter fraud and disclosure of personal
26         information (“doxing”): The final piece of Defendants’ intimidating scheme is
27   relevance of Thune here is in its analysis of what constituted intimidation: following
28   voters and photographing the voters and their license plates in combination with loud
     discussions of prosecutions for illegal voting.
                                              5
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 1           the threat to publicly accuse voters of unlawful voting and to publicly disclose
 2           their personal identifying information. See Homer Decl. Ex. L (Defendant
 3           Jennings explaining “that ballot trafficking mules are about to be completely
 4           doxxed and put on blast at every drop box across America starting VERY
 5           SOON!”); Homer Supp. Decl. Ex. C (“The point is these mules, you know they
 6           clearly don’t want to be doxxed. They don’t want their face all over Truth Social,
 7           and GETTR, and Facebook. They don’t want to be seen everywhere.”). 5 False,
 8           public accusations of illegal voting behavior have been found to constitute
 9           unlawful voter intimidation. In League of United Latin American Citizens -
10           Richmond Region Council 4614 v. Public Interest Legal Foundation (“LULAC”),
11           for example, voters’ personal identifying information—including their names,
12           addresses, and telephone numbers—were collected and published in a report
13           identifying them as potential felons. No. 1:18-CV-00423, 2018 WL 3848404, at
14           *1 (E.D. Va. Aug. 13, 2018). Similarly, the Ninth Circuit has held that the threat
15           to distribute voters’ personal information constitutes sufficient evidence to find
16           unlawful voter intimidation under California law. United States v. Tan Duc
17           Nguyen, 673 F.3d 1259, 1261, 1265 (9th Cir. 2012) (concluding that the wide
18           distribution of a letter among Latino immigrants warning that if they voted in the
19           upcoming election their personal information would be collected and could be
20           provided to anti-immigration organizations is unlawful intimidation). Here,
21           Defendants and their agents have repeatedly, publicly posted photographs of
22           Arizona voters online and baselessly implied that they are “mules” casting illegal
23           ballots. See, e.g., Homer Decl. Exs. N, O. This type of conduct has a long history
24           as a classic form of voter intimidation: in Katzenbach v. Original Knights of the
25           KKK, the court explained that “handbills” posted by the defendants naming local
26           voters, accusing them of crimes and immoral behavior, constituted intimidation:
27   5
       MG Show, A Conversation with Melody Jennings: CleanElectionsUSA.org at 9:35,
28   Rumble (Oct. 18, 2022), https://podcast.mg.show/e/a-conversation-with-melody-
     jennings-cleanelectionsusaorg/
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 1           “sometimes the attempted intimidation is by threat of violence, sometimes by
 2           character assassination.” 250 F. Supp. 330, 342 (E.D. La. 1965); see also King v.
 3           Cook, 298 F. Supp. 584, 587 (N.D. Miss. 1969) (“Reticence to apply for
 4           registration might have been intensified . . . by publication in the local newspaper
 5           of the names and addresses” of those registering, even though that information
 6           was technically public).
 7           Moreover, Defendants’ actions must be viewed in the context of the increased
 8   risk of violence around elections. On Friday, the Department of Homeland Security
 9   issued a bulletin warning local law enforcement that “election-related perceptions of
10   fraud and [domestic violent extremist] reactions to divisive topics will likely drive
11   sporadic [domestic violent extremist] plotting of violence and broader efforts to justify
12   violence in the lead up to and following the 2022 midterm election cycle.” 6 Earlier this
13   month, the Department of Justice arrested a man for sending death threats to an election
14   official in Maricopa County. 7 And, as has been widely reported, victims of conspiracy
15   theories in the aftermath of the 2020 election received a deluge of death threats, 8 were
16   forced to flee their homes, 9 and ended up on “death lists.” 10 The “mules” conspiracy, in
17   particular, has precipitated specific violent threats to identified individuals. 11
18   6
       Homer Supp. Decl. Ex. D, Geneva Sands & Sean Lyngaas, Feds Warn that Domestic
19   Violent Extremists Pose Heightened Threat to Midterm Elections, CNN (Oct. 28, 2022),
     https://www.cnn.com/2022/10/28/politics/midterm-domestic-extremist-
20   threat/index.html.
     7
       Homer Supp. Decl. Ex. E, Man Arrested for Making Threats to Maricopa County
21   Election Official and to Official with Office of Arizona Attorney General, U.S. Dep’t of
     Just. (Oct. 6, 2022), https://www.justice.gov/opa/pr/man-arrested-making-threats-
22   maricopa-county-election-official-and-official-office-arizona.
     8
       E.g., Homer Supp. Decl. Ex. F, Gloria Rebecca Gomez, Threats Against Election
23   Officials Unlikely to Stop, Maricopa County Recorder Says, AZ Central (Aug. 18,
     2022), https://www.azcentral.com/story/news/politics/elections/2022/08/18/maricopa-
24   county-recorder-stephen-richer-talks-threats-voter-vitriol/7835952001/.
     9
       E.g., Compl. ¶¶ 8, 28, Konnech, Inc. v. True the Vote, No. 22-cv-3096 (S.D. Tex. Sept.
25   12, 2022), ECF No. 1, https://s3.documentcloud.org/documents/22415420/konnechs-
     lawsuit-against-true-the-vote-422cv3096.pdf.
26
     10
        E.g., Homer Supp. Decl. Ex. G, Hannah Rabinowitz & Holmes Lybrand, Judge Says
     Oath Keepers Jury Won’t See ‘Death List’, CNN (Oct. 6, 2022),
27   https://www.cnn.com/2022/10/06/politics/judge-says-oath-keepers-jury-wont-see-death-
     list-trial-day-3.
28
     11
        Compl. ¶¶ 12, 174, Andrews v. Dinesh D’Souza, No. 22-cv-4259 (N.D. Ga. Oct. 26,
     2022),
                                                 7
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 1          Against this backdrop, it is unsurprising that the record amply demonstrates that
 2   Defendants’ campaign of intimidation is working. Voters who have encountered
 3   Defendants’ agents at polling locations report feeling afraid or uncomfortable, as well as
 4   worried about future harassment. Redacted Decl. ¶ 16; Rivera Decl. ¶¶ 9–11; Overlock
 5   Decl. ¶¶ 12–13. This fear is heightened given the risk of doxxing, and the threats and
 6   harassment that is likely to cause. Hansen Decl. ¶ 6. Voters have specifically reported
 7   that this conduct is more intimidating in the context of recent political violence. Devine
 8   Decl. ¶ 6; Hansen Decl. ¶ 8. Public reports about the intimidation scheme have made
 9   some voters too afraid to use a drop box to drop off their ballot. Rivera Decl. ¶ 4;
10   Devine Decl. ¶¶ 7–8; Banister Decl. ¶¶ 5–7; Hanson Decl. ¶¶ 5–6. Under these
11   circumstances, the First Amendment does not shield Defendants’ specific, intimidating
12   conduct from appropriately tailored judicial restraints.
13   II.    Each Element of Plaintiff’s Proposed Injunction Is Consistent with the First
            Amendment.
14
15          Plaintiff respectfully believes that the better view—as will be argued in Part IV
16   of this filing—is that all of Defendants’ intimidating scheme falls entirely outside of the
17   protections of the First Amendment. However, even if this Court disagrees with Plaintiff
18   on that point and concludes (as it did in AARA) that some of Defendants’ activities are
19   entitled to at least a modicum of First Amendment protection, well-established First
20   Amendment doctrine still permits this Court to enter Plaintiff’s proposed order to enjoin
21   defendants from further violations of Section 11(b) of the Voting Rights Act (and
22   Section 2 of the Klan Act). 12 That is so for three reasons:
23
24   https://storage.courtlistener.com/recap/gov.uscourts.gand.308676/gov.uscourts.gand.308
25   676.1.0.pdf; Homer Supp. Decl. Ex. H, Philip Bump, One of Dinesh D’Souza’s 2,000
     Alleged ‘Mules’ Sues, Claiming Defamation, Wash. Post (Oct. 27, 2022),
26   https://www.washingtonpost.com/politics/2022/10/27/2020-election-fraud-claims-
     voting; Homer Decl. Ex. E (describing the widespread distribution of fake “Wanted”
27   posters depicting alleged “ballot mules”).
     12
        This section focuses on Section 11(b) because Section 1985(3) clauses 3 and 4 are
28   narrower with respect to potential First Amendment concerns, and because the criminal
     companion (since repealed) to Section 1985(3) has already been upheld by the Supreme
                                                8
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 1      ● Defendants’ conduct in carrying firearms near drop boxes is neither expressive of
 2         a protected First Amendment message nor protected by the Second Amendment,
 3         so Plaintiff is entitled to an injunction blocking such actions regardless of
 4         whether Defendants’ intimidating photography and harassment is protected by
 5         the First Amendment.
 6      ● Defendants’ circulation of specific false information about voting and voters fall
 7         outside of the First Amendment’s protections, and Defendants’ publication of
 8         those falsehoods can be halted consistent with the First Amendment, even if
 9         Defendants’ intimidating photography and harassment is otherwise protected by
10         the First Amendment.
11      ● Because Section 11(b) survives strict scrutiny as narrowly tailored to advance a
12         compelling governmental interest, Defendants’ intimidating photography and
13         harassment can be enjoined even if it is otherwise protected by the First
14         Amendment. Moreover, if notwithstanding the strict scrutiny analysis, the Court
15         still has lingering First Amendment concerns about the proper scope of an
16         injunction, the proper solution to those concerns is prohibiting photography and
17         harassment within a specified distance of a drop-box—not denying an injunction
18         altogether.
19   Each element of Plaintiff’s proposed injunction will be examined in turn.
20             A. This Court can enjoin Defendants from carrying firearms near drop
                  boxes because there is no First Amendment right to carry a gun near
21                a drop box. 13
22         The Court’s Order in AARA concluded that Defendants’ conduct qualifies for
23   First Amendment protection because, taken together, it conveys a message: that people
24   who attempt to break ballot-harvesting laws will be exposed. Order at 7. Some parts of
25   Defendants’ conduct may well convey that message. But that’s certainly not true with
26
27   Court, see Ex Parte Yarborough, 110 U.S. 651, 667 (1884). However, the arguments
     would equally apply to Section 1985(3).
28
     13
        Nor is bearing arms outside polling places immunized by the Second Amendment.
     TRO Mot. at 27–28, ECF No. 11.
                                              9
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 1   respect to carrying weapons near a polling place, and therefore this Court can enjoin
 2   such activities without offending the First Amendment.
 3           Wearing body armor and carrying firearms while keeping watch at a polling
 4   place does not convey a message about exposure of voting fraud. Homer Decl. Ex. V
 5   (Jennings defending monitoring polls with weapons and tactical gear); Evans Decl. ¶ 12
 6   (bearing guns), ECF No. 11-5; Banister Decl. ¶ 5 (news coverage of tactical gear), ECF
 7   No. 11-8; Devine Decl. ¶ 7 (same), ECF No. 11-7; Hanson Decl. ¶ 6 (same), ECF No.
 8   11-9.
 9           It instead conveys a message about physical danger. “Our presence makes
10   approaching the ballot box dangerous” is unquestionably a message, but it cannot be a
11   constitutionally protected message. It is the essential message of voter intimidation.
12           Nor does bearing arms and wearing body armor in conjunction with speech that
13   conveys a message create expressive conduct—it is only through explanatory speech
14   that any such conduct would be understood to carry some other message. And that’s not
15   good enough to qualify for First Amendment protection.
16           As the Supreme Court explained in Rumsfeld v. FAIR, the defendants are not
17   allowed to characterize their entire course of conduct as expressive conduct protected by
18   the First Amendment simply because some of their activities may be entitled to a
19   modicum of First Amendment protection. See 547 U.S. 47, 65–66 (2006). Stated
20   otherwise: just as tax evaders do not acquire a First Amendment right to engage in tax
21   evasion if they give a political speech explaining why they are evading taxes, see id. at
22   66, Defendants here have no First Amendment right to carry firearms near a polling
23   place in violation of the Voting Rights Act simply because they’re also engaged in other
24   First Amendment activities. In both instances, the “expressive component” of
25   Defendants’ actions “is not created by the conduct itself but by the speech that
26   accompanies it,” and that is “strong evidence that the conduct at issue here is not so
27   inherently expressive that it warrants protection.” Id.
28

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 1          Moreover, even if Defendants’ decision to carry guns and body armor near a
 2   drop box conveys an expressive message—and it does not—a narrow restriction on
 3   openly carrying guns within 250-feet of drop box locations is necessary and narrowly
 4   tailored to serve the government’s interest in preventing voter intimidation. See infra
 5   Section II.D (explaining strict scrutiny analysis and why Section 11(b) is narrowly
 6   tailored to achieve a compelling state interest); see also Wohl I, 498 F. Supp. 3d at 486
 7   n.29 (noting that any “content-based speech restrictions imposed by” Section 11(b) “are
 8   narrowly tailored to advance compelling government interests”); cf. TRO Mot. at 27–28
 9   (no Second Amendment right to carry firearms near polling places).
10             B. The Court can also, consistent with the First Amendment, enjoin
                  Defendants’ narrow falsehoods about Arizona voting law and specific
11                voters.
12          The First Amendment does not stand in the way of this Court enjoining two sets
13   of narrow and demonstrably false claims about the mechanics of voting in Arizona and
14   specific Arizona voters.
15          The First Amendment does not bar the government from regulating or
16   proscribing certain, narrow categories of speech. E.g., R.A.V. v. City of St. Paul, Minn.,
17   505 U.S. 377, 383 (1992). In United States v. Alvarez, the Supreme Court reaffirmed the
18   longstanding rule that certain categories of falsehoods fall outside the First
19   Amendment’s protections. 567 U.S. 709, 721 (2012); see id. at 719–23. That includes
20   speech adjudged to be defamatory, e.g., R.A.V., 505 U.S. at 383; Gertz v. Robert Welch,
21   Inc., 418 U.S. 323 (1974), and the Court subsequently made clear that it also includes
22   narrow falsehoods about the mechanics of voting, such as “messages intended to
23   mislead voters about voting requirements and procedures,” Minn. Voters All. v. Mansky,
24   138 S. Ct. 1876, 1889 n.4 (2018); see Richard Hasen, Drawing the Line Between False
25   Election Speech and False Campaign Speech, Knight First Am. Instit. (Oct. 21, 2021). 14
26   The permissibility of restricting falsehoods about the mechanics of voting makes sense,
27
28
     14
       https://knightcolumbia.org/blog/drawing-the-line-between-false-election-speech-and-
     false-campaign-speech.
                                               11
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 1   because such speech poses similar risks as perjury and impersonations of government
 2   officials—that is, undermining the integrity of government processes and the
 3   functioning and province of the law, in general, and elections, in particular. Cf. Alvarez,
 4   567 U.S. at 721 (explaining why prohibitions on perjury and lying to or impersonating
 5   government officials are consistent with the First Amendment).
 6          Defendants here are publishing two sets of false claims that are straightforwardly
 7   unprotected. It is not true that it is illegal in Arizona to deposit “only one [ballot],” or
 8   even only ballots for “you and your spouse” into drop boxes, as Defendant Jennings has
 9   claimed. Homer Supp. Decl. Ex. A. Instead, Arizona law provides several common
10   circumstances in which depositing multiple ballots into a drop box is legal, including
11   when family members deposit one another’s ballots. See Ariz. Rev. Stat. § 16-1005(I).
12   Claiming otherwise, as Defendants know, is false and will mislead their agents, voters,
13   and the broader public about voting requirements and procedures. For the same reasons,
14   posting specific identifying information about individuals in connection with a claim
15   that that individual violated the law based solely on the fact that they deposited multiple
16   ballots at a drop box—as Defendant Jennings has done, see, e.g., Homer Decl. Exs. N,
17   O, T—is defamation per se. See, e.g., Peagler v. Phx. Newspapers, Inc., 114 Ariz. 309,
18   316, 560 P.2d 1216, 1223 (1977); Boswell v. Phx. Newspapers, Inc., 152 Ariz. 1, 6 n.4,
19   730 P.2d 178, 183 n.4 (Ct. App. 1985), approved as supplemented, 152 Ariz. 9, 730
20   P.2d 186 (1986); Modla v. Parker, 17 Ariz. App. 54, 56 n.1, 495 P.2d 494, 496 n.1
21   (1972). These knowing, narrow lies about the mechanics of voting and specific,
22   unfounded accusations about individuals committing voter fraud are unprotected.
23          Enjoining these narrow sets of publications, and specifying that enforcement of
24   the injunction will be by criminal contempt proceedings, poses no First Amendment
25   problem. The Supreme Court has “never held” that all injunctions of speech are
26   impermissible. Pittsburgh Press Co. v. Pittsburgh Comm’n on Hum. Rels., 413 U.S.
27   376, 390 (1973). The typical problem with a prior restraint is instead “that
28   communication will be suppressed, either directly or by inducing excessive caution in

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 1   the speaker, before an adequate determination that it is unprotected by the First
 2   Amendment.” Id. (emphasis added); see also Kramer v. Thompson, 947 F.2d 666, 675–
 3   76 (3d Cir. 1991); id. at 675 n.25 (collecting authority). Thus, where it is determined
 4   that a plaintiff is likely to succeed in proving that speech is unprotected, a preliminary
 5   injunction directing a party to remove that speech does not violate the First Amendment,
 6   particularly where the injunction is enforced through criminal contempt proceedings in
 7   which a jury will ultimately decide that the speech is unprotected and was nevertheless
 8   knowingly published. See generally Eugene Volokh, Anti-Libel Injunctions, 168 U.
 9   Penn. L. Rev. 73, 117–20 (2019).
10             C. The Court may enjoin Defendants from directly harassing voters who
                  visit drop box locations because in-person harassment is conduct, not
11                speech.
12          Restrictions on unwanted, direct communication often do not offend the First
13   Amendment. See, e.g., Rowan v. U.S. Post Office Dep’t, 397 U.S. 728, 737, 738 (1970);
14   United States v. Waggy, 936 F.3d 1014, 1018–20 (9th Cir. 2019); United States v.
15   Lampley, 573 F.2d 783, 787 (3d Cir. 1978). In United States v. Osinger, for instance,
16   the Ninth Circuit rejected a facial and as-applied challenge to a federal criminal statute
17   that proscribes harassing and intimidating conduct. 753 F.3d 939, 944––48 (9th Cir.
18   2014). The Court explained that the statute criminalized a “course of conduct” not
19   speech. Id. Coupled with the statute’s mens rea requirement, and the fact that “‘harass’
20   . . . [is] not [an] esoteric or complicated term[] devoid of common understanding,” the
21   Court concluded that it raised no First Amendment problems. Id. For the same reasons,
22   the Court can enjoin Defendants from carrying out their intimidation scheme through
23   harassment at drop box locations.
24             D. This Court can also enjoin photography and harassment near drop
25                boxes even if the activities have some modicum of First Amendment
                  protection because Section 11(b) of the Voting Rights Act survives
26                strict scrutiny.

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 1          In the AARA litigation, this Court concluded on the record before it that
 2   Defendants’ activities are fully protected by the First Amendment and do not fit within
 3   the “true threats” exception to First Amendment protection. Order at 8–10. This Court’s
 4   analysis stopped there (no doubt, in part, given the breadth of the requested injunction
 5   before it in that case). 15
 6          But stopping the First Amendment analysis at the question of whether
 7   photography is entitled to some modicum of First Amendment protection would be legal
 8   error in this case. Even assuming Defendants’ conduct is protected by the First
 9   Amendment (and Plaintiff respectfully disagrees, particularly on the additional record
10   evidence submitted in support of Plaintiff’s motion, see infra), the Court must further
11   consider whether any injunction nevertheless survives strict scrutiny.
12          A content-based restriction of speech that is fully protected by the First
13   Amendment is permissible, so long as it survives strict scrutiny—that is, so long as it is
14   narrowly tailored and necessary to serve a compelling state interest. See, e.g., Burson v.
15   Freeman, 504 U.S. 191, 198 (1992). And restrictions aimed at safeguarding elections
16   and the right to vote regularly survive strict scrutiny. E.g. Williams-Yulee v. Fla. Bar,
17   575 U.S. 433 (2015) (restricting solicitation of campaign funds); Burson, 504 U.S. 191
18   (restricting electioneering in proximity to polling locations); Wolfson v. Concannon, 811
19   F.3d 1176 (9th Cir. 2016) (restricting solicitation of campaign funds). That includes
20   prohibitions which guard against voter intimidation. Burson, 504 U.S. at 198–99, 206;
21   Citizens for Police Accountability Pol. Comm. v. Browning, 572 F.3d 1213, 1219 (11th
22   Cir. 2009); Wohl I, 498 F. Supp. 3d at 486 n.29; Silberberg v. Bd. of Elections of New
23   York, 272 F. Supp. 3d 454, 469–70 (S.D.N.Y. 2017).
24          Here, the Court may enter an injunction enjoining Defendants’ harassment and
25   photography near drop boxes because Section 11(b) can survive even strict scrutiny
26   (assuming, for the sake of argument, that it could be subject to an as-applied First
27   15
       As explained below, Plaintiff respectfully disagrees with the Court’s conclusion that
28   Defendants’ conduct—taken as a whole—does not amount to “true threats.” See infra
     Section IV.
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 1   Amendment challenge under which strict scrutiny is the correct mode of analysis). 16 In
 2   particular, Section 11(b) can survive strict scrutiny because it is “narrowly tailored to
 3   advance compelling government interests,” Wohl I, 498 F. Supp. 3d at 486 n.29; see
 4   also Burson, 504 U.S. at 206 (preventing voter intimidation is a compelling
 5   governmental interest). 17
                     1. Section 11(b) of the Voting Rights Act is narrowly tailored to
 6                       achieve the government’s compelling interest in protecting the
                         right to vote free from intimidation.
 7
 8          Because Section 11(b) plainly advances a compelling state interest, see Burson,

 9   504 U.S. at 206, the strict scrutiny analysis necessarily becomes a question of narrow

10   tailoring. And the best argument that Defendants likely could make that Section 11(b)

11   was not narrowly tailored would be to suggest that Congress could have drafted Section

12   11(b) more narrowly to cover only subjective attempts to intimidate.

13          But Congress tried that solution, and it did not achieve Congress’s compelling

14   interest in protecting the constitutional right to vote by preventing voter intimidation. In

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     16
       Plaintiff does not concede that strict scrutiny is appropriate here, particularly as to the
     non-speech elements of defendants’ entire course of conduct. But, given the procedural
17   posture, Plaintiff assumes an order must survive strict scrutiny.

18
     17
       As the Supreme Court explained when upholding the constitutionality of the Klan
     Act’s (later repealed) criminal enforcement provision for the support-or-advocacy
19   clauses:
                    In a republican government, like ours, where political power
20                  is reposed in representatives of the entire body of the people,
                    chosen at short intervals by popular elections, the temptations
21                  to control these elections by violence and by corruption is a
                    constant source of danger. Such has been the history of all
22                  republics, and, though ours has been comparatively free from
                    both these evils in the past, no lover of his country can shut
23                  his eyes to the fear of future danger from both sources. . . . If
                    the government of the United States has within its
24                  constitutional domain no authority to provide against these
                    evils,—if the very sources of power may be poisoned by
25                  corruption or controlled by violence and outrage, without
                    legal restraint,—then, indeed, is the country in danger, and its
26                  best powers, its highest purposes, the hopes which it inspires,
                    and the love which enshrines it, are at the mercy of the
27                  combinations of those who respect no right but brute force on
                    the one hand, and unprincipled corruptionists on the other.
28   Ex Parte Yarbrough, 110 U.S. 651, 666—67 (1884).
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 1   Section 131(b) of the Civil Rights Act of 1957, Congress tried to combat the scourge of
 2   voter intimidation through a ban on subjective attempts to intimidate voters. See 52
 3   U.S.C. § 10101(b) (banning voter intimidation “for the purpose of interfering with the
 4   right of such other person to vote”) (emphasis added). But Section 131(b) failed to end
 5   voter intimidation because its subjective intent requirement thwarted effective
 6   enforcement. As Attorney General Katzenbach explained during the consideration of
 7   the Voting Rights Act of 1965,
 8                 The litigated cases amply demonstrate the inadequacy of
                   present statutes prohibiting voter intimidation. . . . [P]erhaps
 9                 the most serious inadequacy results from the practice of . . .
                   courts to require the Government to carry a very onerous
10                 burden of proof of ‘purpose.’ Since many types of
                   intimidation, particularly economic intimidation, involve
11                 subtle forms of pressure, this treatment of the purpose
                   requirement has rendered the statute largely ineffective.
12
13   Hearing on the Voting Rights Act of 1965 Before the H. Judiciary Comm. at 12, 89th
14   Cong. (1965) (statement by Att’y Gen. Katzenbach) (hereinafter “Katzenbach
15   Statement”). 18 Indeed, Section 131(b) was so ineffective that the United States couldn’t
16   even protect its own witnesses in voting rights suits from voter intimidation. See, e.g.,
17   United States v. Bd. of Educ., 332 F.2d 40, 44–46 (5th Cir. 1964); id. at 46–47 (Rives,
18   J., specially concurring) (noting “undisputed testimony” that “one of the reasons” that
19   witness for the United States was not re-employed was her “involvement in the [United
20   States]’s voting suit,” but that government could not prove that the intimidation was
21   “for the purpose of interfering with the right to vote”).
22          Unsurprisingly then, voter registration numbers remained dismally low
23   throughout the South even after the passage of Section 131(b), see, e.g., Katzenbach
24   Statement at 3–4, in no small part due to the success of subtle voter intimidation
25   schemes similar to the one that defendants are perpetrating here. As the United States
26   Commission on Civil Rights explained in its study of why electoral participation in
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     18
       Available at https://www.justice.gov/sites/default/files/ag/legacy/2011/08/23/03-18-
     1965.pdf.
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 1   Mississippi remained low even after the passage of the Civil Rights Acts of 1957 and
 2   1964, the practice of photographing and publishing the names of potential voters—
 3   conduct strikingly similar to Defendants’ conduct here—intimidated potential voters out
 4   of registering due to fear of retaliation:
 5                 [Black voters] in rural counties who attempt to register cannot
                   hope to remain anonymous. Any doubt that applicants will be
 6                 identified has been removed by the legal requirement that
                   their names will be published in local newspapers and by
 7                 practices such as the photographing of [Black] applicants by
                   public officials. In this climate a single incident . . . may be
 8                 sufficient to deter many potential registrants.
 9
     U.S. Comm’n on Civil Rights, Voting in Mississippi 39 (1965) (emphasis added); see
10
     also id. at 9–10, 22, 25, 32 (describing how Mississippi’s practice of publishing names
11
     of voters and photography intimidated voters); King, 298 F. Supp. at 587 (explaining
12
     how Mississippi’s practice of publishing voter’s names and addresses in the paper made
13
     Black citizens “generally hesitant to apply for voter registration”).
14
            Thus, in the Voting Rights Act of 1965, Congress tried again to prevent voter
15
     intimidation. This time, however, Congress eliminated the subjective intent
16
     requirement, see H.R. Rep. No. 89-439, at 30 (1965), that thwarted their prior attempts
17
     to eliminate voter intimidation.
18
            Even under a strict scrutiny analysis, that choice was acceptable. Strict scrutiny
19
     requires a law to “be narrowly tailored, not . . . ‘perfectly tailored,’” to achieve the
20
     government’s compelling objective. Williams-Yulee, 575 U.S. at 454. Moreover, given
21
     how compelling the government’s interest in preventing voter intimidation is, the
22
     Supreme Court “never has held” the government “‘to the burden of demonstrating
23
     empirically the objective effects on political stability that [are] produced’ by the voting
24
     regulation in question.” Burson, 504 U.S. at 208 (quoting Munro v. Socialist Workers
25
     Party, 479 U.S. 189, 195 (1986)). Thus, Congress’s choice in Section 11(b) to eliminate
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     the subjective intent requirement after watching Section 131(b)’s narrower prohibition
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     on voter intimidation fail was an appropriately tailored response to its continued failure
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 1   to protect the right to vote; indeed, if anything, enduring nearly a decade of failure was
 2   more than Congress had to do to survive strict scrutiny. See, e.g., id. at 209 (courts
 3   should not require a “political system” to “sustain some level of damage before the
 4   legislature could take corrective action” under strict scrutiny analysis).
 5                      2. To the extent the Court still has constitutional concerns,
                           enjoining harassment and photography within a specified
 6                         distance from a ballot drop box is plainly constitutional.
 7            As explained, Defendants’ violations of federal voter intimidation law are subject
 8   to no First Amendment protection whatsoever. But even if the Court is nevertheless
 9   hesitant to enjoin the full scope of Defendants’ monitoring and harassment at this time,
10   this Court can clearly enjoin such conduct in the immediate vicinity of ballot drop
11   boxes.
12            Courts have regularly upheld direct restrictions on political speech and
13   photography within a certain distance from a polling place. See, e.g., Burson, 504 U.S.
14   at 208–09 (100-foot campaign-free zone around polling places); N.J. Press Ass’n v.
15   Guadagno, No. 12-06353, 2012 WL 5498019, at *4–6 (D.N.J. Nov. 13, 2012)
16   (upholding 100-foot prohibition on photographing voters outside polling places);
17   Firestone v. News-Press Pub. Co., 538 So. 2d 457, 460 (Fla. 1989) (upholding
18   restriction on photographing in polling places). In Burson, the Supreme Court explained
19   that there is a “widespread and time-tested consensus demonstrat[ing] that some
20   restricted zone is necessary in order to serve the States’ compelling interests in
21   preventing voter intimidation and election fraud.” Id. at 206 (emphasis added); see id. at
22   208 (“[W]e hold that some restricted zone around the voting area is necessary to secure
23   the State’s compelling interest.”).
24            Tracking these common-sense limitations on photography and harassment,
25   Arizona law provides that individuals may not (1) remain within 75 feet of a polling
26   place, except for the purpose of voting; (2) take photographs or videos while within that
27   limit; or (3) engage in electioneering–i.e. intend to influence someone’s vote or induce
28   another to refrain from voting, within that 75-foot limit. Ariz. Rev. Stat. § 16-515. As a
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 1   practical matter, such restrictions ordinarily prevent individuals from being
 2   photographed in the act of voting in typical polling locations, and, to Plaintiff’s
 3   knowledge, those restrictions have never been challenged as unconstitutional.
 4          Here, Defendants are approaching voters within 75 feet of drop boxes to to tell
 5   them they are “hunting mules” and inquire about whether voters are “mules”—i.e.,
 6   whether they are committing the crime of election fraud. Redacted Decl. ¶ 10, ECF No.
 7   11-2. In addition, Defendants—some from positions within the 75-foot radius of the
 8   drop box—are taking photos of voters driving up to deposit boxes and depositing
 9   ballots. Id. ¶¶ 5–9; Rivera Decl. ¶ 6, ECF No. 11-3; Evans Decl. ¶ 8, ECF No. 11-5;
10   Overlock Dec. ¶ 9, ECF No. 11-4. These actions have the predicted (and intended)
11   effect of intimidating voters, leading some voters to refrain from using the drop boxes at
12   all.
13          Clearly, as in Burson, some restricted zone around the ballot boxes is “necessary
14   in order to serve the [government]’s compelling interests in preventing voter
15   intimidation.” 504 U.S. at 206. Regardless of whether such a restriction is required by
16   state law, federal voting law does require it on this record, and such a restriction does
17   not “significantly impinge on constitutionally protected rights.” Id. at 209. Cf. TRO
18   Order at 2, ECF No. 6, Daschle v. Thune, No. 04-cv-4177 (D.S.D. Nov. 2, 2004)
19   (entering TRO “prohibiting [defendants] from following Native Americans from the
20   polling places and directing that they not copy the license plates of Native Americans
21   driving to the polling places, or being driven to polling places, and further directing that
22   the license plates of Native Americans driving away from the polling places also not be
23   recorded”).
24          The Court can, at a minimum, enter an injunction prohibiting Defendants from
25   taking photos of voters or harassing them within 75 feet of drop boxes. Moreover, if this
26   Court chooses to place a geographic limit on an injunction prohibiting Defendants from
27   photographing voters and their license plates, Plaintiff requests that it not just enjoin
28   Defendants from being within a 75-foot radius, but also from photographing voters who

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 1   are within that protected 75-foot radius (even if Defendants themselves are outside of
 2   that radius). Such a ban is supported by the justifications of other bans held to be
 3   constitutional and comports with their contents. See, e.g., Burson, 504 U.S. at 206
 4   (explaining that “a secret ballot secured in part by a restricted zone around the voting
 5   compartments” is necessary to prevail in “a persistent battle against two evils: voter
 6   intimidation and election fraud”); id. at 211 (noting that “the exercise of free speech
 7   rights [sometimes] conflicts with another fundamental right, the right to cast a ballot in
 8   an election free from the taint of intimidation and fraud” and that “[a] long history, a
 9   substantial consensus, and simple common sense show that some restricted zone around
10   polling places is necessary to protect that fundamental right”); see id. at 198–211.
11          To conclude that such an injunction is inconsistent with the First Amendment
12   would mean, in effect, that the First Amendment permits the government to ban core
13   political speech within 100 feet of voting locations to guard against voter intimidation,
14   but is powerless to protect voters from accusations of criminal conduct and unwanted
15   photography aimed at identifying and harassing them as long as the harasser stands a bit
16   more than 100 feet away. That cannot be correct.
17   III.   Speech Integral to Defendants’ Intimidation Scheme May Be Enjoined
            Consistent with the First Amendment.
18
19          While the Court may enter a narrow injunction, the First Amendment permits
20   broader relief on these facts. Because the totality of Defendants’ conduct is part and
21   parcel of an unlawful conspiracy in violation of the Klan Act, and, taken together,
22   conveys a true threat, the Court can instead enjoin the full scope of Defendants’ voter
23   intimidation scheme, including by barring Defendants from following voters away from
24   drop boxes, recording them on their way home, and continuing to organize their
25   campaign of intimidation.
26          As Plaintiff noted in its initial motion, making a “course of conduct” illegal “has
27   never been deemed an abridgment of freedom of speech . . . merely because the conduct
28   was in part initiated, evidenced, or carried out by means of language, either spoken,
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 1   written, or printed.” Cox v. State of Louisiana, 379 U.S. 559, 563 (1965) (quoting
 2   Giboney v. Empire Storage & Ice Co., 336 U.S. 490 (1949)); see TRO Mot. at 25; id. at
 3   25–26 (collecting authority). The same goes for civil restrictions on unlawful courses of
 4   conduct. Rumsfeld, 547 U.S. at 62, 65–66, 70.
 5          The Court may enjoin Defendants from continuing to conspire to engage in voter
 6   intimidation, as well as to solicit others to do the same. See, e.g., Homer Decl. Exs. K,
 7   M. The classic example of otherwise protected activity that may be restricted as integral
 8   to an unlawful course of conduct are conspiracies. “Although agreements to engage in
 9   illegal conduct undoubtedly possess some element of association, the State may ban
10   such illegal agreements without trenching on any right of association protected by the
11   First Amendment.” Brown v. Hartlage, 456 U.S. 45, 55 (1982). “The fact that such an
12   agreement necessarily takes the form of words does not confer upon it, or upon the
13   underlying conduct, the constitutional immunities that the First Amendment extends to
14   speech.” Id. (emphasis added). Importantly, conspiracies may be proscribed, even when
15   the underlying conduct would otherwise be legal. In Sorrell v. IMS Health Inc., the
16   Supreme Court explained that this is why antitrust law’s prohibition on agreements in
17   restraint of trade are permissible. 564 U.S. 552, 567 (2011); see also Giboney, 336 U.S.
18   at 502. A closely related line of cases recognizes that specific solicitations to engage in
19   unlawful activity are categorically excluded from constitutional protection. United
20   States v. Williams, 553 U.S. 285, 297–98 (2008); Pittsburgh Press Co., 413 U.S. at
21   388–89. In other words, solicitations to engage in unlawful conduct are not merely
22   banned in some contexts (e.g., commercial transactions) but in every context. Williams,
23   553 U.S. at 298.
24          For similar reasons, there is no constitutional problem with enjoining Defendants
25   from following voters away from the polls after they have voted to photograph them and
26   their cars as part of their scheme. Photographing individuals and their license plates in
27   public places and sharing them for fun or any number of purposes may be perfectly
28   protected and legal; photographing individuals and sharing them as part of a voter

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 1   intimidation scheme is not. In United States v. Osinger, for example, the Ninth Circuit
 2   rejected a claim that a defendant’s emailing photographs of a former girlfriend to her
 3   co-workers was protected expression. 753 F.3d 939, 947 (9th Cir. 2014). Instead, the
 4   Ninth Circuit concluded that “[a]ny expressive aspects of Osinger’s speech were not
 5   protected under the First Amendment because they were ‘integral to criminal conduct’
 6   in intentionally harassing, intimidating or causing substantial emotional distress.” Id.
 7   IV.    Defendants’ Conduct, As A Whole, Amounts to A True Threat and Should
            Be Enjoined.
 8
 9          A broader injunction would also comport with the First Amendment because
10   Defendants’ actions as a whole amount to a “true threat.”
11          As the Court rightly noted, the First Amendment does not protect “true threats.”
12   Order at 8 (citing Virginia v. Black, 538 U.S. 343, 360 (2003); Watts v. U.S., 394 U.S.
13   705, 708 (1969); U.S. v. Tan Duc Nguyen, 673 F.3d 1259, 1266 (9th Cir. 2012)). The
14   Constitutional carveout for true threats “protects individuals from the fear of violence
15   and from the disruption that fear engenders, in addition to protecting people from the
16   possibility that the threatened violence will occur.” Black, 538 U.S. at 360 (internal
17   quotation marks and alteration omitted).
18          To determine whether words and actions constitute true threats, courts look not
19   only at specific statements, but also at “the surrounding events and reaction of the
20   listeners.” Thunder Studios, Inc. v. Kazal, 13 F.4th 736, 746 (9th Cir. 2021); see also
21   United States v. Carmichael, 326 F. Supp. 2d 1267, 1281 (M.D. Ala. 2004). Context
22   matters because, as this Court explained, statements that appear to threaten violence
23   may nevertheless be protected when viewed in context, just as statements that do not
24   explicitly threaten violence may be unprotected in context. Order at 8.
25          True threats notably extend beyond threats of imminent bodily harm. In Black,
26   the Court held only that the First Amendment exception “encompasses” such threats,
27   not that it is limited to them. 538 U.S. at 359; see Wohl I, 498 F. Supp. at 479. The
28   Ninth Circuit, for its part, has held that even a letter telling would-be voters that their
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 1   information could be obtained by hostile groups or used against them in deportation
 2   proceedings falls within the true threats exception. Nguyen, 673 F.3d at 1266.
 3          Nor must true threats be communicated verbally. Black, 538 U.S. at 360
 4   (“Respondents do not contest that some cross burnings fit within this meaning of
 5   intimidating speech, and rightly so.”). For example, conspicuously taking down license-
 6   plate information can amount to a true threat. E.g., New York ex rel. Spitzer v. Cain, 418
 7   F. Supp. 2d 457, 477 (S.D.N.Y. 2006) (noting that when a hostile protestor “makes a
 8   show of noting the license plate of a car, a car owner would reasonably interpret the
 9   gesture as intended to communicate an intent to track the owner down and harm her”).
10          Against the backdrop of increased violence and threats around elections, see
11   supra, Defendants’ words and actions clearly convey threats, including violent threats.
12   In September, Defendant Jennings explained “that ballot trafficking mules are about to
13   be completely doxxed and put on blast at every drop box across America starting VERY
14   SOON!” Homer Decl. Ex. L; see also Homer Supp. Decl. Ex. C (“The point is these
15   mules, you know they clearly don’t want to be doxxed. They don’t want their face all
16   over Truth Social, and GETTR, and Facebook. They don’t want to be seen
17   everywhere.”). She referred to herself and her followers as “the patriot army,” id., and
18   Defendants have repeatedly explicitly stated that they are “hunting mules.” Redacted
19   Decl. ¶ 12, ECF No. 11-2; id. Ex. D. Unsurprisingly, given these analogies, Defendants’
20   agents have shown up to monitor drop boxes armed, and wearing tactical gear. Homer
21   Decl. Ex. V; see also id. Ex. I; Evans Decl. ¶ 12, ECF No. 11-5. Defendant Jennings
22   explained that this is standard practice for her agents, who “will always gear up” in
23   responding to potential mules. Homer Decl. Ex. V. Defendants have further confronted
24   voters at drop boxes to ask if they are “mules.” Redacted Decl. ¶ 10, ECF No. 11-2.
25   Defendants are conspicuously photographing voters and their license plates at drop
26   boxes, including after voters have deposited a small number of ballots. E.g., id. ¶ 15;
27   Overlock Decl. ¶¶ 8–11, ECF No. 11-4; Rivera Decl. ¶¶ 7–11, ECF No. 11-3; Evans
28   Decl. ¶ 8, ECF No. 11-5; Redacted Decl. ¶¶ 5–9, ECF No. 11-2. And Defendants are

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 1   further posting pictures of voters and their cars on social media, accusing them of being
 2   “mules.” Redacted Decl. ¶¶ 17–18, ECF No. 11-2. 19
 3          Those on the receiving end of Defendants’ actions have plainly understood
 4   Defendants’ threats as true threats. See TRO Mot. at 2–5; supra at pp. 5–6. One
 5   declarant confronted by Defendants felt the need to redact their name, given
 6   Defendants’ conduct and, “especially given their social media posts,” concerns that
 7   Defendants would disparage, harass, and threaten their safety. Redacted Decl. ¶ 19, ECF
 8   No. 11-2.
 9          Together, Defendants’ words and actions, viewed in context and in light of their
10   demonstrated effect, amount to a true threat that does not receive First Amendment
11   protection.
12                                       CONCLUSION
13          For the reasons above, and those in Plaintiff’s original motion, the Court should
14   enter Plaintiff’s requested temporary restraining order and preliminary injunction.
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       Note that the Ninth Circuit has not yet decided whether a civil plaintiff must
     demonstrate that a defendant subjectively intended to convey a true threat in addition to
26   demonstrating that it may be understood as such objectively. Kazal, 13 F.4th at 746.
     Under either standard, Plaintiff posits that the only inference to be drawn here is that
27   Defendants well understand themselves to be conveying true threats. See, e.g., Homer
     Supp. Decl. Ex. B (“We are actually seeing mules be intimidated from doing their
28   thievery. . . . We’re catching them on telescopic film. We can zoom right in. We can get
     your face. So we’ve got you.”).
                                             24
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 1        DATED this 31st day of October, 2022.
 2
                                          OSBORN MALEDON, P.A.
 3
 4                                        By s/ Joshua D. Bendor
                                             Joshua D. Bendor
 5                                           Brandon T. Delgado
                                             2929 North Central Avenue, Suite 2100
 6                                           Phoenix, Arizona 85012-2793
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11                                            Washington, DC 20006
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                                              Benjamin L. Berwick(pro hac vice)
13                                            PROTECT DEMOCRACY PROJECT
                                              15 Main Street, Suite 312
14                                            Watertown, MA 02472

15                                            Jared Davidson(pro hac vice to be filed)
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16                                            3014 Dauphine Street, Suite J
                                              New Orleans, LA 70117
17
                                          Attorneys for Plaintiff
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     Case 3:22-cv-08196-MTL Document 23 Filed 10/31/22 Page 26 of 51



 1                         IN THE UNITED STATES DISTRICT COURT
 2                              FOR THE DISTRICT OF ARIZONA
 3   League of Women Voters of Arizona,
                                                            No. CV-22-08196-PCT-MTL
 4                          Plaintiff,
 5    vs.                                                SUPPLEMENTAL DECLARATION
                                                             OF RACHEL F. HOMER
 6   Lions of Liberty LLC; Yavapai County
     Preparedness Team; Jim Arroyo, Lucas
 7   Cilano; Nicholas Cilano; Brian Mounsey;
     Toby Fox; Bruce Mounsey; James Johnson;
 8   Melody Jennings; Clean Elections USA;
     John Does 1-10,
 9
                            Defendants.
10
11
12   I, Rachel F. Homer, declare as follows:
13      1. I am over the age of 18 and have personal knowledge of the matters stated in this
14          Declaration.
15      2. I am an attorney with the Protect Democracy Project, and am counsel for
16          Plaintiff League of Women Voters of Arizona. I submit this declaration to
17          provide the Court true and correct copies of certain documents submitted in
18          support of Plaintiff’s Motion for Temporary Restraining Order and Preliminary
19          Injunction. Audio and video interviews will be submitted to the Court on a thumb
20          drive.
21      3. Exhibit A is a true and correct recording of an interview with Defendant
22          Jennings on Bannon’s War Room, dated October 21, 2022. The recording is
23          available at https://rumble.com/v1p2xof-episode-2243-mastriano-stands-up-for-
24          pennsylvania-families.html.
25      4. Exhibit B is a true and correct recording of an interview with Defendant
26          Jennings on Bannon’s War Room, dated October 17, 2022. The recording is
27          available at https://rumble.com/v1oenkz-melody-jennings-clean-elections-usa-is-
28          fighting-to-secure-the-lefts-vulnera.html.
     Case 3:22-cv-08196-MTL Document 23 Filed 10/31/22 Page 27 of 51



 1     5. Exhibit C is a true and correct recording of an interview with Defendant
 2        Jennings on the MG Show, dated October 18, 2022. The recording is available at
 3        https://podcast.mg.show/e/a-conversation-with-melody-jennings-
 4        cleanelectionsusaorg.
 5     6. Exhibit D is a true and correct copy of a CNN article titled “Feds Warn that
 6        Domestic Violent Extremists Pose Heightened Threat to Midterm Elections,”
 7        dated October 28, 2022. The article is available at
 8        https://www.cnn.com/2022/10/28/politics/midterm-domestic-extremist-
 9        threat/index.html.
10     7. Exhibit E is a true and correct copy of a U.S. Department of Justice press release
11        titled “Man Arrested for Making Threats to Maricopa County Election Official
12        and to Official with Office of Arizona Attorney General,” dated October 6, 2022.
13        The release is available at https://www.justice.gov/opa/pr/man-arrested-making-
14        threats-maricopa-county-election-official-and-official-office-arizona.
15     8. Exhibit F is a true and correct copy of an AZ Central article titled “Threats
16        Against Election Officials Unlikely to Stop, Maricopa County Recorder Says,”
17        dated August 18, 2022. The article is available at
18        https://www.azcentral.com/story/news/politics/elections/2022/08/18/maricopa-
19        county-recorder-stephen-richer-talks-threats-voter-vitriol/7835952001.
20     9. Exhibit G is a true and correct copy of a CNN article titled “Judge Says Oath
21        Keepers Jury Won’t See ‘Death List’,” dated October 6, 2022. The article is
22        available at https://www.cnn.com/2022/10/06/politics/judge-says-oath-keepers-
23        jury-wont-see-death-list-trial-day-3.
24     10. Exhibit H is a true and correct copy of a Washington Post article titled “One of
25        Dinesh D’Souza’s 2,000 Alleged ‘Mules’ Sues, Claiming Defamation,” dated
26        October 27, 2022. The article is available at
27        https://www.washingtonpost.com/politics/2022/10/27/2020-election-fraud-
28        claims-voting.

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     Case 3:22-cv-08196-MTL Document 23 Filed 10/31/22 Page 28 of 51



 1
 2     I declare under penalty of perjury that the foregoing Declaration is true and correct.
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 4        Executed on October 31, 2022.               /s/ Rachel F. Homer
 5                                                   Rachel F. Homer
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Case 3:22-cv-08196-MTL Document 23 Filed 10/31/22 Page 29 of 51




            EXHIBIT A
       Case 3:22-cv-08196-MTL Document 23 Filed 10/31/22 Page 30 of 51




Interview with Defendant Jennings on Bannon’s War Room, dated October 21, 2022. The

recording is available at https://rumble.com/v1p2xof-episode-2243-mastriano-stands-up-

forpennsylvania-families.html, and will be submitted to the Court on a thumb drive.
Case 3:22-cv-08196-MTL Document 23 Filed 10/31/22 Page 31 of 51




            EXHIBIT B
       Case 3:22-cv-08196-MTL Document 23 Filed 10/31/22 Page 32 of 51




Interview with Defendant Jennings on Bannon’s War Room, dated October 17, 2022. The

recording is available at https://rumble.com/v1oenkz-melody-jennings-clean-elections-

usa-isfighting-to-secure-the-lefts-vulnera.html, and will be submitted to the Court on a

thumb drive.
Case 3:22-cv-08196-MTL Document 23 Filed 10/31/22 Page 33 of 51




            EXHIBIT C
       Case 3:22-cv-08196-MTL Document 23 Filed 10/31/22 Page 34 of 51




Interview with Defendant Jennings on the MG Show, dated October 18, 2022. The

recording is available at https://podcast.mg.show/e/a-conversation-with-melody-

jenningscleanelectionsusaorg, and will be submitted to the Court on a thumb drive.
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            EXHIBIT D
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  Feds warn that domestic violent extremists pose heightened threat to midterm elections
  By Geneva Sands and Sean Lyngaas, CNN
  Updated 8:35 PM EDT, Fri October 28, 2022




                                                                                                                                                 AudioLive TV




                                                                                                                                         Justin Sullivan/Getty Images

  A voter places a ballot in a drop box outside of the Maricopa County Elections Department on August 02, 2022 in Phoenix, Arizona.




  (CNN) — Federal officials on Friday warned that domestic violent extremists pose a heightened threat to the 2022 midterm elections, in a
  joint intelligence assessment sent to state and local officials and obtained by CNN.

  The bulletin, released by the Department of Homeland Security, FBI, US Capitol Police and National Counterterrorism Center, says that
  perceptions of election fraud will likely result in heightened threats of violence.

  The bulletin did not list any specific credible threats.

  “Following the 2022 midterm election, perceptions of election-related fraud and dissatisfaction with electoral outcomes likely will result in
  heightened threats of violence against a broad range of targets―such as ideological opponents and election workers,” it states.

  Enduring perceptions of election fraud related to the 2020 general election continue to contribute to the radicalization of some violent
  extremists, and likely would “increase their sensitivity to any new claims perceived as reaffirming their belief that US elections are
  corrupt,” according to the assessment.

  The joint federal assessment comes as election workers are increasingly concerned about physical threats to themselves and election
  infrastructure, and foreign actors seek to widen divisions in the United States.

  “We assess that election-related perceptions of fraud and [domestic violent extremist] reactions to divisive topics will likely drive sporadic
  [domestic violent extremist] plotting of violence and broader efforts to justify violence in the lead up to and following the 2022 midterm
  election cycle,” the bulletin states.

  “The midterm elections are occurring at a time when the nation is experiencing what has been described as the most volatile, complex
  and dynamic threat environment in recent times,” former DHS intel chief and counterterrorism coordinator John Cohen told CNN.
  “Communities across the nation continue to experience mass casualty attacks and other acts of targeted violence by individuals inspired
https://www.cnn.com/2022/10/28/politics/midterm-domestic-extremist-threat/index.html                                                                              1/11
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  by conspiracy theories.”


  Law enforcement on alert
  Law enforcement across the country is on the lookout for threats to election officials, such as, intimidating behavior directed at voters,
  vandalism of ballot boxes and the potential of people visiting polling sites and questioning the legitimacy of voters, according to Cohen,
  who continues to work with state and local law enforcement.

  Over past weeks, law enforcement agencies across country have been discussing steps that can be taken to mitigate these risks and
  ensure election is conducted in safe and secure manner, he said.


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                                                             spin and tells you what you need to know.


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  “The Department of Homeland Security regularly shares information regarding the heightened threat environment with federal, state,
  local, tribal, and territorial officials to ensure the safety and security of all communities across the country,” a DHS spokesperson told
  CNN.

  The assessment was released on the same day that Paul Pelosi, the husband of House Speaker Nancy Pelosi, was attacked at the
  couple’s home in San Francisco. The assailant who attacked him was searching for the speaker of the House, according to a source
  briefed on the attack.

  As of Friday evening, authorities hadn’t yet determined a motive for the attack.

  Cohen said it should serve as a warning to Democratic and Republican elected officials that “they are being targeted by individuals who
  are motivated by extremist ideological beliefs.”

  On Thursday, the New York Police Department advised “elevated vigilance” in the closing days of the midterm election season, according
  to an NYPD bulletin obtained by CNN, though there are currently no credible threats to New York City polling sites, candidates or poll
  workers

  There are three “primary threat vectors” concerning officials amid the midterm elections – cybersecurity, mis- and disinformation and
  physical security, Homeland Security Secretary Alejandro Mayorkas said at a conference on Wednesday.

  Election officials and federal agencies have been on heightened alert for any attempt by hackers to breach computer systems that
  support the election process.

                     RELATED ARTICLE
                     'Our security here is a joke': Election workers lament lack of federal spending on security ahead of crucial midterms




  Unidentified hackers twice in the last month have sent phishing emails to employees of an elections board in a Midwestern state, US
  officials told election officials on a Friday briefing, sources familiar with the call told CNN. The apparently run-of-the-mill cybercriminal
  activity was blocked and didn’t result in any breach of election board computers, officials said.

  The department has received reports of “a number of election officials” expressing concern about their physical security, Mayorkas said at
  the Homeland Security Enterprise Forum.

  “And I must say in 2022, it’s a very sad state of affairs when election officials are concerned about their physical security,” he added.

  Since Russia’s interference in the 2016 election, a range of foreign governments have shown more of an interest in shaping US public
  opinion or spreading disinformation in advance of US elections, according to US intelligence officials.

   When it comes to spreading lies Mayorkas pointed to Russia Iran and China saying “the disinformation that they spread both pre- and
https://www.cnn.com/2022/10/28/politics/midterm-domestic-extremist-threat/index.html                                                   2/11
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   When it comes to spreading lies, Mayorkas pointed to Russia, Iran and China, saying, the disinformation that they spread, both pre- and
  post-election, undermine the integrity, the perception of the integrity of the elections, to sow further discord in our country.”

  Iran’s level of aggressiveness in trying to interfere in the 2020 election – in part by impersonating the far-right Proud boys – surprised some
  US national security officials. China considered trying to influence the 2020 election outcome, but ultimately chose not to, according to a
  public US intelligence assessment.

  Ahead of the 2022 midterm elections, Russian and Chinese government-affiliated operatives and organizations have amplified
  misinformation from Americans about the integrity of elections, senior FBI officials told reporters this month.

  But it’s physical security that has risen to the top of the list of concerns for election officials as conspiracy theories about voter fraud have
  boomed.

  The FBI and sheriffs from across the country last week discussed the possibility of misinformation fueling violence at polling stations
  during the midterm elections, a sheriffs group told CNN.

  Election workers have reported over 1,000 interactions, including death threats, with the public that they considered hostile or threatening
  to a Justice Department task force, but that is likely just a fraction of the threatening behavior that has occurred since 2020.

  In response, federal officials are now offering state and local election officials training to “safely de-escalate” confrontations with voters
  that could turn violent, CNN first reported.

  This story has been updated Friday with additional information.




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https://www.cnn.com/2022/10/28/politics/midterm-domestic-extremist-threat/index.html                                                               3/11
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            EXHIBIT E
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        JUSTICE NEWS

                                                                    Department of Justice

                                                                     Ofﬁce of Public Affairs


      FOR IMMEDIATE RELEASE                                                                                             Thursday, October 6, 2022


       Man Arrested for Making Threats to Maricopa County Election Ofﬁcial and to Ofﬁcial
                            with Ofﬁce of Arizona Attorney General
      An Iowa man was arrested today in Hiawatha, Iowa, for allegedly sending a threatening communication to an election
      ofﬁcial on the Maricopa County Board of Supervisors in Maricopa County, Arizona, and for allegedly sending a
      threatening communication to an ofﬁcial with the Ofﬁce of the Arizona Attorney General.

      Mark A. Rissi, 64, of Hiawatha, is expected to make his initial appearance today at the federal courthouse in Cedar
      Rapids.

      According to the indictment, on or about Sept. 27, 2021, Rissi allegedly left the following voicemail for the election
      ofﬁcial with the Maricopa County Board of Supervisors: “Hello Mr. [VICTIM], I am glad that you are standing up for
      democracy and want to place your hand on the Bible and say that the election was honest and fair. I really appreciate
      that. When we come to lynch your stupid lying Commie [expletive], you’ll remember that you lied on the [expletive]
      Bible, you piece of [expletive]. You’re gonna die, you piece of [expletive]. We’re going to hang you. We’re going to hang
      you.”

      Additionally, on or about Dec. 8, 2021, Rissi allegedly said the following in a voicemail message he left for an ofﬁcial
      with the Ofﬁce of the Arizona Attorney General: “I’m a victim of a crime. My family is a victim of a crime. My extended
      family is a victim of a crime. That crime was the theft of the 2020 election. The election that was fraudulent across the
      state of Arizona, that [VICTIM] knows was fraudulent, that [VICTIM] has images of the conspirators deleting election
      fraud data from the Maricopa County Board of Supervisors computer system. Do your job, [VICTIM], or you will hang
      with those [expletive] in the end. We will see to it. Torches and pitchforks. That’s your future, [expletive]. Do your job.”

      Rissi is charged with two counts of making a threatening interstate communication and one count of making a
      threatening telephone call. If convicted, Rissi faces a maximum penalty of up to ﬁve years in prison for each count of
      making a threatening interstate communication and up to two years in prison for making a threatening telephone call. A
      federal district court judge will determine any sentence after considering the U.S. Sentencing Guidelines and other
      statutory factors.

      Assistant Attorney General Kenneth A. Polite, Jr. of the Justice Department’s Criminal Division, U.S. Attorney Gary M.
      Restaino for the District of Arizona, Assistant Director Luis Quesada of the FBI’s Criminal Investigative Division, and
      Acting Special Agent in Charge Chris Ormerod of the FBI Phoenix Field Ofﬁce made the announcement.

      The FBI Phoenix Field Ofﬁce is investigating the case, with the assistance of the FBI Cedar Rapids Field Ofﬁce.

      Trial Attorney Tanya Senanayake of the Criminal Division’s Public Integrity Section and Assistant U.S. Attorney Sean K.
      Lokey for the District of Arizona are prosecuting the case.

      This case is part of the Justice Department’s Election Threats Task Force. Announced by Attorney General Merrick B.
      Garland and launched by Deputy Attorney General Lisa O. Monaco in June 2021, the Task Force has led the
      department’s efforts to address threats of violence against election workers, and to ensure that all election workers —
https://www.justice.gov/opa/pr/man-arrested-making-threats-maricopa-county-election-ofﬁcial-and-ofﬁcial-ofﬁce-arizona                                    1/2
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      whether elected, appointed, or volunteer — are able to do their jobs free from threats and intimidation. The Task Force
      engages with the election community and state and local law enforcement to assess allegations and reports of threats
      against election workers, and has investigated and prosecuted these matters where appropriate, in partnership with FBI
      Field Ofﬁces and U.S. Attorneys’ Ofﬁces throughout the country. A year after its formation, the Task Force is continuing
      this work and supporting the U.S. Attorneys’ Ofﬁces and FBI Field Ofﬁces nationwide as they carry on the critical work
      that the Task Force has begun.

      Under the leadership of Deputy Attorney General Monaco, the Task Force is led by the Criminal Division’s Public
      Integrity Section and includes several other entities within the Department of Justice, including the Computer Crime and
      Intellectual Property Section of the Criminal Division, the Civil Rights Division, the National Security Division, and the
      FBI, as well as key interagency partners, such as the Department of Homeland Security and the U.S. Postal Inspection
      Service. For more information regarding the Justice Department’s efforts to combat threats against election workers,
      read the Deputy Attorney General’s memo.

      To report suspected threats or violent acts, contact your local FBI ofﬁce and request to speak with the Election Crimes
      Coordinator. Contact information for every FBI ﬁeld ofﬁce may be found here: https://www.fbi.gov/contact-us/ﬁeld-
      ofﬁces/. You may also contact the FBI at 1-800-CALL-FBI (225-5324) or ﬁle an online complaint at: tips.fbi.gov.
      Complaints submitted will be reviewed by the task force and referred for investigation or response accordingly. If
      someone is in imminent danger or risk of harm, contact 911 or your local police immediately.

      An indictment is merely an allegation. All defendants are presumed innocent until proven guilty beyond a reasonable
      doubt in a court of law.


      Topic(s):
      Voting and Elections

      Component(s):
      Criminal - Public Integrity Section
      Federal Bureau of Investigation (FBI)
      USAO - Arizona

      Press Release Number:
      22-1072

                                                                                                                          Updated October 6, 2022




https://www.justice.gov/opa/pr/man-arrested-making-threats-maricopa-county-election-ofﬁcial-and-ofﬁcial-ofﬁce-arizona                                    2/2
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            EXHIBIT F
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                                                                                                    voter vitriol




ELECTIONS


Threats against election officials unlikely
to stop, Maricopa County recorder says
Gloria Rebecca Gomez Arizona Republic
Published 1:44 p.m. MT Aug. 18, 2022              Updated 12:58 p.m. MT Aug. 22, 2022


The state’s top elections official received a death threat last year. It wasn’t the first, and he
fears it won’t be the last.

On Tuesday, 50-year-old Missouri resident Walter Lee Hoornstra was indicted on suspicion
of sending a threatening voicemail to Maricopa County Recorder Stephen Richer in May
2021. In it, Hoornstra warned Richer to stop speaking out against the Arizona Senate audit,
or Richer would “never make it to (his) next little board meeting,” according to the
indictment.

Previous coverage: Missouri man indicted after threatening voicemail was left for
Maricopa County Recorder

Baseless claims that fraud occurred during the 2020 election sowed mistrust among voters,
and election officials have borne the brunt of their vitriol. Across the country, election
officials have resigned after dealing with relentless harassment. Richer estimates that he’s
received thousands of hateful messages during his tenure since January 2021. So many that
the threat from Hoornstra, at that point, wasn’t enough to cancel meetings or give him pause.

“This would’ve been one of a deluge of voicemails, emails and social media messages at this
time,” Richer said Thursday in an interview with The Arizona Republic.

Allegations from the Arizona Senate audit inspired many of the messages, Richer said.
Hoornstra’s voicemail came after the audit’s Twitter account falsely accused election officials
of deleting electronic databases, Richer said. In fact, contractors had simply been looking in
the wrong place for the information.

The spread of inflammatory misinformation about election integrity invariably leads to a
spike in harassment, Richer said.

https://www.azcentral.com/story/news/politics/elections/2022/08/18/maricopa-county-recorder-stephen-richer-talks-threats-voter-vitriol/7835952001/   1/3
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                                                                                                    voter vitriol



“We would see an uptick in vitriol correspondence, and thinly veiled threats whenever they
would make some sort of comment like that,” he said.

Despite the audit’s end, and its various debunkings, hateful messages from the public
continue, latching on to new conspiracy theories, like those forwarded by the ‘2000 Mules’
documentary.

Debunked: Arizona Capitol event with '2000 Mules' filmmakers was long on claims, short
on evidence

“Now, more recently, most of them have moved on from the Cyber Ninjas and other
schemes,” Richer said. “When the silly documentary about mules came out we received a lot
of communications at that point as well.”

While Richer is the public face of elections in Maricopa County, he is not alone in receiving
threats. The most upsetting messages for him are those that are focused on unmasking and
intimidating non-public election workers.

“Wherein it disappoints me is in respect to some of the videos when some of these
antagonists — some of these malcontents — take the initiative to try to identify some of our
people, name them, cook up alleged wrongs that these people are doing and then say horrible
things about them,” he said.

He fears the continued negative climate election officials deal with will have a chilling effect
on hiring and retention. Richer pointed to the resignation of an entire elections department
in a Texas county last week as evidence that voter harassment is taking a toll on the career.

“I just don’t think people should be making professional work decisions under threat because
it could have an effect,” he said.

Arizona is no stranger to resignations among its elections officials. In July the county
recorder and elections director in Yavapai County left their posts after a year and a half of
heated harassment.

Richer says he has no plans to resign and remains committed to his work despite the
likelihood threats will continue.

“I wish this were the last of it, but I strongly doubt that will be the case,” he said.

Reach criminal justice reporter Gloria Rebecca Gomez at grgomez@gannett.com or on
Twitter @glorihuh.
https://www.azcentral.com/story/news/politics/elections/2022/08/18/maricopa-county-recorder-stephen-richer-talks-threats-voter-vitriol/7835952001/   2/3
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            EXHIBIT G
10/31/22, 10:34 AM            Case 3:22-cv-08196-MTL Judge
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                                                           says Oath Keepers           10/31/22
                                                                                won't see                  Page
                                                                                          'death list' | CNN Politics46 of 51




  Judge says Oath Keepers jury won’t see ‘death list’
  By Hannah Rabinowitz and Holmes Lybrand, CNN
  Updated 6:23 PM EDT, Thu October 6, 2022




                                                                                                                                  AudioLive TV




                                                                                                                                Video Ad Feedback

  Death list won't be admitted in Oath Keepers trial, judge rules
                                                                                                                                  02:27 - Source: CNN




                                                                              See More Videos




  (CNN) — US District Judge Amit Mehta ruled Thursday that the jury in the Oath Keepers seditious conspiracy case will not see a “death
  list” of Georgia election officials allegedly written by a defendant, saying that it is “too prejudicial.”

  The document was found in a search of defendant Thomas Caldwell’s home when he was arrested in January 2021, according to
  prosecutors. The handwritten note was titled “DEATH LIST,” and had the names of Ruby Freeman and her daughter Wandrea “Shaye”
  Moss, both of whom were the subjects of a conspiracy theory about voter fraud, prosecutors said.

                           RELATED VIDEO
                           'This turned my life upside down': Former election worker testified in Jan 6 hearing

      VIDEO




  Freeman and Moss testified publicly to the House select committee investigating January 6 in June about how the conspiracy led to
  constant harassment from supporters of former President Donald Trump.

   Mehta had previously ruled that prosecutors could not present the document to the jury but Justice Department lawyers asked the judge
https://www.cnn.com/2022/10/06/politics/judge-says-oath-keepers-jury-wont-see-death-list-trial-day-3                                     1/8
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                                                              says Oath Keepers           10/31/22
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                                                                                             'death list' | CNN Politics47 of 51
   Mehta had previously ruled that prosecutors could not present the document to the jury, but Justice Department lawyers asked the judge
  to reconsider, arguing that Caldwell’s defense attorney opened the door to introducing the death list in his cross-examination of an FBI
  agent.

  Prosecutors cited a line of questioning from Caldwell’s attorney, David Fischer, that claimed Caldwell was only preparing to confront antifa
  in DC and did not consider violence against lawmakers or government officials.

  “Evidence that Caldwell intended to commit violence against these particular employees is directly relevant to that criminal objective and
  flatly contradicts Caldwell’s conjured impression that his attention and actions were narrowly tailored to rally attendance and self-defense
  against ‘antifa’ individuals unrelated to the election process,” prosecutors wrote in their motion.

  Mehta wasn’t persuaded that the list itself was relevant.

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  “I continue to believe about the evidence…is at most what it shows is Mr. Caldwell maybe, maybe at most that he had some thinking about
  violence,” Mehta said in court Thursday, but the “note itself has (nothing) to do with” the government’s case.

  Caldwell and four other defendants have pleaded not guilty to the seditious conspiracy charges they face, which carries a maximum
  sentence of 20 years behind bars.




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            EXHIBIT H
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                                               Democracy Dies in Darkness




  Analysis by Philip Bump
  National columnist
October 27, 2022 at 5:32 p.m. EDT


Right-wing commentator Dinesh D’Souza welcomed a special guest to his podcast on Tuesday: former president
Donald Trump. The two spent about 20 minutes discussing the subject that has animated them both for the past two
years: false claims about rampant ballot fraud affecting the outcome of the 2020 presidential election.


Trump has seen D’Souza’s film “2000 Mules.” He held a screening of the film at his Mar-a-Lago event facility. He’s
advocated for it regularly, and for good reason: “2000 Mules” purports to show that Trump didn’t lose his reelection
bid but, rather, that it was stolen by a network of people shuttling ballots around swing states. The film is entirely
unconvincing both in its specific assertions about the number of ballots shuttled (a figure that D’Souza admitted to
The Washington Post was essentially a guess) and in its overall methodology. But no one on this planet is less fazed
by obviously false claims about voter fraud than Trump.


After declaring that he won by “millions of votes,” Trump praised “2000 Mules” as being particularly useful to his
effort to subvert his loss. The film, he said, showed fraud in a “very conclusive way, because you were taking
government tapes” as evidence. That is, the film’s claims that a group called True the Vote had compiled geolocation
data to show people visiting multiple ballot drop boxes was augmented by video from those drop boxes — and who
could argue with that?


One person who could is Mark Andrews.


Here are two stills from “2000 Mules” showing Andrews depositing ballots in a drop box in Georgia before the
election that year. As the footage airs, D’Souza speaks in a voice-over.


“What you are seeing is a crime,” D’Souza says. “These are fraudulent votes.”
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But it was not a crime. And that’s not just our weighing in; that was the determination of the Georgia Bureau of
Investigation, which investigated Andrews’s behavior and established that the multiple ballots Andrews submitted
were simply his and his family’s ballots — fully in compliance with state law.


D’Souza insists that anyone shown on-screen was a “mule,” someone who True the Vote’s crack detective work had
identified as visiting multiple ballot drop boxes as well as unidentified left-wing organizations. (Those organizations
are unnamed in the film but were named in the first release of D’Souza’s companion book to the movie. That release
was pulled from shelves and the organization names removed.) But no evidence is shown in the film to suggest that’s
true of Andrews, no evidence of his visiting more than one drop box with video footage or even a map of his activity.
(There was one such map in the movie, which True the Vote’s Gregg Phillips admitted to me was fake.)


Nonetheless, according to a lawsuit filed Wednesday against D’Souza and True the Vote by attorneys representing
Andrews, footage of Andrews was shown as part of 11 programs as D’Souza and True the Vote promoted the film —
including at least three occasions after Andrews had been cleared. (The lawsuit establishes that D’Souza knew that
Andrews had been cleared, in part because of his conversation with The Post.) A representative for True the Vote
told The Post that the organization “is confident that the claims regarding True the Vote in this litigation will be
found to be without merit.” D’Souza did not respond to a request for comment.


“Combining junk pseudoscience and excerpted surveillance video of innocent voters,” the lawsuit states near the
beginning, “Defendants produced, distributed, and widely marketed 2000 Mules, which they label a ‘documentary’
proving their ‘mules’ theory.”


This is an important point. There’s no evidence at all that any of the video footage used in the film was linked to the
purported geolocation analysis.


“Defendants never had any means to connect this video footage of voters such as Andrews with their individualized
cell phone geolocation data,” it adds later. “... Moreover, Defendants appear to lack any surveillance footage that
actually shows any individual depositing ballots at multiple locations.”


Among the examples of media appearances in which Andrews is put forward as an example of someone casting
illegal votes is one featuring True the Vote’s Phillips. Appearing on a show hosted by the right-wing Epoch Times,
Phillips introduced the footage of Andrews by saying: “The data itself is immutable. Even if you don’t believe your
lying eyes on that, then just go look at the video. ... I can show you the [cellphone geolocation] pings, and then we
can show you where he did it again and again and again and again. It really takes an extraordinary person with an
agenda that’s probably not America’s agenda to say, ‘I don’t believe that.’”


But, of course, he didn’t show any of that, so saying “I don’t believe that” is perfectly warranted. Last week, the office
of Arizona Attorney General Mark Brnovich (R) sent a letter to federal authorities suggesting that True the Vote’s
activities surrounding “2000 Mules” be investigated. At an event this summer, Phillips and the head of the
organization attempted to explicitly close the book on the subject.
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Andrews’s lawsuit isn’t just about correcting the record, though. He details the ways in which this false accusation
disrupted his life. The lawsuit aims to paint as sympathetic a portrait of him as possible, certainly, but he describes
the importance of voting to him and his family, since he grew up in the Jim Crow South. A technology executive at a
Fortune 500 company, he became aware of his inclusion in the film only when a reporter contacted him about it.


That snippet of his casting his family’s ballots has been clipped and published on social media. The lawsuit details
some of the responses it generated:


  “Comments on these posts include threats to have the ‘mules’ ‘forcibly amputated from the
  country and sent somewhere else en masse,’ and proclamations that the ‘mules’ should be
  arrested, ‘face a firing squad,’ or receive ‘Bullets to Mules Heads.’ Defendants’ followers have
  also assured ‘mules’ through social media comments that ‘we’re coming after you.’”

It further claims that Andrews has installed security cameras at his home and attempted to disguise his vehicle,
since it is easily identifiable in footage. In the film, at least, his license plate and face are blurred. When the clip was
shown in some media appearances, neither was.


He’s not the only one affected. The claim elevated by the film that people are stuffing ballot boxes — a claim for
which, again, no evidence is presented — has led to a rash of encounters at ballot boxes in Arizona. Voters casting
ballots have been challenged by self-appointed observers. One group affiliated with the right-wing Oath Keepers
extremist group was sued and forced to end its drop-box monitoring effort.


“At all times, Defendants knew that their portrayals of Mr. Andrews were lies,” the lawsuit states, “as was the entire
narrative of 2000 Mules. But they have continued to peddle these lies in order to enrich themselves.”


The trailer to the film remains online. In it, you can see Andrews depositing his and his family’s ballots.
